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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

                                        :
ANTHONY DAWKINS, BRITTANY               :
HART, KEITH HINTON, LATORA              :
COOK, TAMIKA SHANNON,                   :
REGINALD REYNOLDS, KITANYA              :
ALEXANDER, TOBY EGBUNA,                 :
MICHAEL PETERSON, TAAHIR                :
ALICEA, and ARGENTRY REESE,             :
                                        :        CIVIL ACTION NO.
       Plaintiffs,                      :        1:22-cv-3621-AT
                                        :
v.                                      :
                                        :
WALMART INC.,                           :
                                        :
                                        :
       Defendant.                       :


                          SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed by the Parties, (“JPRDP,” Doc. 5), the Court

ORDERS that the time limits for adding parties, amending the pleadings, filing

motions, and completing discovery are as stated in JPRDP.



       IT IS SO ORDERED this 26th day of October, 2022.


                                    ____________________________
                                    Honorable Amy Totenberg
                                    United States District Judge
